CS Case 5:03-cv-00536-DEW-RSP Document 20 Filed 09/09/03 Page 1of1PagelD#: 88
a WESTERN DistRicy OF LOUISIANA
FILED

UNITED STATES DISTRICT COURT SEP 04 2003
WESTERN DISTRICT OF LOUISIANA
SHREVEPORT DIVISION By

     

DEPUTY

 

TANGO MOTOR TRANSIT, INC., CIVIL ACTION NO. 03-0536
ET AL.
versus JUDGE WALTER

APPALACHIAN LEASING SERVICES,
INC., ET AL. MAGISTRATE JUDGE PAYNE

 

JUDGMENT
For the reasons assigned in the Report and Recommendation of
the Magistrate Judge previously filed herein, and having thoroughly
reviewed the record and concurring with the findings of the
Magistrate Judge under the applicable law;
IT IS ORDERED that the Motions to Dismiss (Docs. 6 & 11) are
GRANTED, and all claims are DISMISSED WITHOUT PREJUDICE.

THUS DONE AND SIGNED at Shreveport, Louisiana, this the G

day oe DSeptonon 2003.

DONALD E. WALTER
UNITED STATES DISTRICT JUDGE

 

 

 

 
